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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA


   SAMMY BEETS AND MELISSA BEETS,               )
   on behalf of T.B., a minor child, et al.     )
                                                )
           Plaintiffs,                          )
                                                )     Case No. 09-CV-546-GKF-PJC
           v.                                   )
                                                )
   BLUE TEE CORP., et al.                       )
                                                )
         Defendants.                            )
   ________________________________________     )


                DEFENDANTS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY
                  OF KIRK BROWN, PH. D. AND BRIEF IN SUPPORT THEREOF


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                                             Introduction

           Kirk Brown is an agronomist and soil scientist. He offered opinions in support of

   requested certification of property owner and medical monitoring classes in Cole, et al. v.

   Asarco, et al., Case No. 03-CV-327-GKF-PJC. He also attempted to perform plaintiff and

   defendant specific air dispersion modeling in Palmer v. Asarco Inc., No. 03-CV-498-CVE-PJC,

   and offered certain rebuttal opinions in the Asarco bankruptcy proceeding. He has not done any

   work for this case. Instead, Plaintiffs have simply repackaged his prior reports – authored in

   2004-08, before this case was filed – and intend to have Dr. Brown provide the same opinions he

   offered in these prior cases. Dr. Brown’s opinions should be excluded for a number of reasons.

   First, Judge Eagan has already ruled that many of his opinions from the Cole case are unreliable,

   irrelevant, or outside his area of expertise. This Court should follow Judge Eagan’s rulings on

   these issues. Dr. Brown should not be permitted to testify that Defendants’ tailings have been

   commingled with the tailings of other operators because he has not utilized any reliable

   methodology to reach this conclusion and such a conclusion is not based on sufficient data and

   facts. Work Dr. Brown performed in the Palmer case should be excluded because Dr. Brown’s

   air dispersion modeling is unreliable and because the modeling results are for properties not at

   issue in this case. Any testimony about the Palmer properties is irrelevant and would threaten to

   mislead and confuse the jury. For these reasons, Dr. Brown’s testimony should be excluded as

   outlined herein.

                                        Dr. Brown’s Opinions

           Dr. Brown has performed no work for this case. Instead, Plaintiffs have simply packaged

   together six expert reports and affidavits (Exhibits 2-7 of his report) he prepared between 2004




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   and 2008 in other cases and submitted these as Dr. Brown’s expert report in this case.1 (See

   Exhibit A attached hereto).

           Exhibit 1. Exhibit 1 to his report is a similar cover page used to re-package his prior

   reports in the Cole case.

           Exhibit 2.       Exhibit 2 is a report Dr. Brown prepared in 2004 in support of class

   certification in the Cole case. It contains seven opinions:

                4.1. Lead contamination in Picher and Cardin, Oklahoma is the result of co-
                mingling of waste from historical mining and milling operations.
                4.2. The communities of Picher and Cardin, Oklahoma are built on lead
                mining residue.
                4.3. Airborne dust from the chat piles and sediment ponds is an ongoing
                source of lead contamination on the properties throughout Picher and Cardin.
                4.4 Residents who play, walk or work on chat piles are tracking lead
                contaminated material into homes where people are further exposed.
                4.5. Dust from chat piles and yards gets into homes and causes elevated lead
                concentrations in household dust.
                4.6. Lead in soil and house dust is the major source of contamination
                contributing to elevated blood lead levels in the children living in Picher and
                Cardin.
                4.7. Property within the communities of Picher and Cardin has been damaged
                and there is continuing damage due to windblown, lead contaminated dust.
   (Ex. 2 to Brown Rep., Ex. A, at 1). Of these opinions, Dr. Brown was the original author of

   Opinion 4.7 only (as well as the executive summary). (2004 Brown Dep., Ex. B, at 148:14-23).

   All other opinions were drafted by others at his firm and edited by Dr. Brown. (Id. at 140:14-25).

   None of the Plaintiffs in this action are mentioned in this report. In addition, the chat piles, chat

   bases, and tailings ponds associated with the historic operations of the alleged predecessors of

   Blue Tee and Gold Fields are not mentioned in this report. Significant portions of this report


   1
     The packaged report submitted by Plaintiffs in this case has not been signed by Dr. Brown, as
   required by FED. R. CIV. P. 26(a)(2). The reports and affidavits comprising Exhibits 2-7 of his


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   were excluded by Judge Eagan in Palmer v. Asarco Inc., No. 03-CV-498-CVE-PJC, 2007 WL

   2302584 (N.D. Okla. Aug. 7, 2007).

           Exhibit 3. Exhibit 3 is another report from the Cole class certification stage. It is a

   rebuttal to class certification expert reports submitted by defense experts Peter Drivas, Ph.D.,

   Gale Hoffnagle, Ph.D., and Rosalind Schoof, Ph.D. Dr. Brown offers the following opinions in

   this rebuttal report:

                   1. The elevated lead contamination in the communities of Picher
                   and Cardin is related to historical mining and milling operations.
                   2. The chat piles and tailing ponds in and around Picher and
                   Cardin contain lead, which is an integral part of the dust which the
                   wind transports from the piles and ponds onto the surrounding
                   landscape.
                   3. Chat is a hazardous waste.
                   4. The chemical speciation of lead based on mineralogy does not
                   provide conclusive evidence for determining the source of lead in
                   soils in the Picher and Cardin communities.
                   5. A comparison of zinc:lead and lead:cadmium ratios is the only
                   accurate and reliable method for determining the source of the soil
                   lead.
                   6. Wind blown dust from the chat piles is a source of lead for
                   ingestion by children.
                   7. The children in the Picher and Cardin communities are regularly
                   exposed to elevated levels of lead resulting from mining during the
                   regular and routine activities.
                   8. Lead concentration in soil particles does not decrease with
                   decreasing particle size.
                   9. The common exposure to residual waste from mining, milling,
                   and processing of lead ore outweigh the individual issues such as
                   variability in exposure due to location, variability in sources, and
                   temporal issues.
   (Ex. 3 to Brown Rep., Ex. A, at 1). As part of his analysis, on pages 11-12, Dr. Brown

   performed air dispersion of a hypothetical 10 m x 10 m chat pile using the same emission rate


   report have been signed.


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    that Judge Eagan found to be unreliable in Holder v. Gold Fields Mining Corp., No. 04-CV-564,

    2007 WL 188130, at *1-4 (N.D. Okla. Jan. 22, 2007). See also Palmer, 2007 WL 2302584, at *7

    (excluding Kirk Brown’s testimony to the extent he relied on the Sullivan emission rate found

    unreliable in Holder). None of the Plaintiffs in this action are mentioned in this report. In

    addition, the chat piles, chat bases, and tailings ponds associated with the historic operations of

    the alleged predecessors of Blue Tee and Gold Fields are not mentioned in this report.

            Exhibit 4. Exhibit 4 purports to have been written in rebuttal to reports prepared by

    Defendants’ experts Peter Drivas, Ph.D. and Gale Hoffnagle, Ph.D. for use in the class

    certification stage of the Cole case. (Ex. 4 to Brown Rpt., Ex. A, at ¶ 2). The Affidavit contains

    several sections. Dr. Brown’s Opinions section, comprising paragraphs 14-17, contain the

    following opinions:

                 14. It is my opinion that the residents and children in the communities of
                 Picher and Cardin continue to be routinely exposed to elevated concentrations
                 of lead as a result of wind-blown dust. The principal route of exposure for
                 children under age six is through ingestion, not inhalation of dust. The
                 ingestion of dust occurs as a result of contact between the dust and the child’s
                 hands, feet or objects and the insertion of the dust contaminated hands into the
                 child’s mouth.
                 15. Deposition of wind-blown dust occurs both indoors and outdoors, and as
                 such provides a source for ongoing lead contamination not only to yards,
                 gardens, driveways, and roads, but also to all buildings, both residential and
                 commercial.
                 16. Even after the remediation of residential yards and high access areas,
                 there is sufficient lead remaining in the chat piles and tailing ponds to
                 recontaminate all of the residential properties thus making it unsafe for
                 children to live in the communities of Picher and Cardin.
                 17. Chat piles, tailing pond residues, and mining wastes continue to erode and
                 act as continual sources of wind-blown, lead-laden dust (Gerberding, 2004).
                 Other than the complete remediation of chat piles and tailings ponds, I know
                 of no way to adequately eliminate the source of lead in this dust. These
                 wastes will continue to act as sources of lead, which results in personal injury
                 and property damage until they are remediated.




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            In a section of the Affidavit titled “Chat Pile Dust Emission and Deposition” (paragraphs

    18-29), Dr. Brown attempts to provide support for the emission rate calculated by David Sullivan

    (and excluded by Judge Eagan). Dr. Brown relies heavily on Sullivan’s work as a basis for his

    opinions in the present case. At the time he prepared his Affidavit, Dr. Brown was aware that

    Sullivan’s work had been criticized by Defendants for a number of reasons, including

    overstatement of his emission rate by a factor of 100, caused by his misapplication of the climatic

    factor, or “C Factor.” Dr. Brown sought to bolster Sullivan’s emission rate by back-calculating

    from 16 days of air lead measurements performed by an EPA contractor in 1996. Judge Eagan

    has found the Sullivan emission rate to be unreliable and has already found that Kirk Brown

    should not be permitted to testify about the unreliable emission rate. Holder, 2007 WL 188130,

    at *1-4; Palmer, 2007 WL 2302584, at *7

            In a section titled “Quapaw Air Monitoring Data” (paragraphs 30-37), Dr. Brown

    discusses monitoring performed by the Quapaw Tribe from October 2003 to March 2004. He

    claims to perform calculations relating to this data, with the ultimate goal of supporting the

    emission rate used by Sullivan. Finally, in a section titled “Recontamination of Remediated

    Properties” (paragraphs 38-44), Dr. Brown attempts to rehabilitate himself from testimony he

    provided in a December 7, 2004 deposition in the Cole case.

            None of the Plaintiffs in this action are mentioned in this affidavit. In addition, the chat

    piles, chat bases, and tailings ponds associated with the historic operations of the alleged

    predecessors of Blue Tee and Gold Fields are not mentioned.

            Exhibit 5. Exhibit 5 to Dr. Brown’s report is an affidavit submitted in response to a

    motion to exclude his testimony in the Palmer case. This affidavit merely sets forth Dr. Brown’s

    qualifications. None of the Plaintiffs in this action are mentioned in this affidavit. In addition,



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    the chat piles, chat bases, and tailings ponds associated with the historic operations of the alleged

    predecessors of Blue Tee and Gold Fields are not mentioned.

            Exhibit 6. Exhibit 6 to Dr. Brown’s report is an affidavit submitted in response to the

    motion to exclude his testimony in the Palmer case.2 Dr. Brown recites some background

    information on the historic operations of the alleged predecessors of Blue Tee, Gold Fields, and

    Doe Run Resources Corporation. (Ex. 6 to Brown Rpt., Ex. A, at ¶¶ 13-43). He also reports on

    air dispersion modeling one of his associates performed on 99 chat piles and tailings ponds in the

    Picher area. Based on this modeling he attempted to determine percentage contribution of Blue

    Tee, Gold Fields, and Doe Run to windblown dust he claims was deposited at six of the Palmer

    plaintiffs’ properties. (Id. at ¶¶ 44-57 and Attachments 10-14). In performing this modeling, Dr.

    Brown’s associate used an emission rate that is approximately 100 times higher than the emission

    rate Judge Eagan found unreliable in Holder and Palmer.3 (See id. at ¶ 48). Based on this

    modeling, Dr. Brown made the following conclusions:

                   58. Each of the Defendants conducted mining and milling
                   operation in Township 29 N, Range 23 E of Ottawa County,
                   Oklahoma. Due to the climatic conditions in the region and the
                   proximity of the Defendants’ operations to the Plaintiffs’ residence
                   locations, it is my opinion that as a result of each Defendants’
                   operations, each of the plaintiffs’ residence locations was impacted
                   by lead from the Defendants.
                   59. As indicated by the soil sampling conducted by USEPA,
                   Plaintiffs’ residence locations were contaminated by lead at
                   concentrations greater than 500 mg/kg. It is my opinion that lead

    2
      In Palmer, Dr. Brown was not permitted to testify about the opinions set forth in this affidavit
    because the affidavit was submitted after the expert report deadline and Judge Eagan determined
    that the opinions in the affidavit did not constitute proper supplementation. See Palmer v.
    Asarco Inc., No. 03-CV-498-CVE-PJC, 2007 WL 2254343, at *1-4 (N.D. Okla. Aug. 3, 2007).
    3
     The Sullivan emission rate for chat piles was 1.28x10-7 g/m2/sec. Holder, 2007 WL 188130, at
    *1. The emission rate used in the modeling for this affidavit was 1 x 10-5 g/sec/m2. (Ex. 6 to
    Brown Rpt., Ex. A, at ¶ 48).



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                    in the wind-blown dust from the chat piles and tailings ponds
                    contributed to the concentrations of lead in the environmental
                    media at the Plaintiffs’ residences.
                    60. As shown by the air dispersion/deposition modeling, it is my
                    opinion that lead from the operations of each of the Defendants
                    was transported to and deposited at each of the Plaintiffs’ residence
                    locations. The relative contribution of airborne lead deposition
                    from each pile and pond at each individual location can be
                    predicted and is independent of the unit area emission rate.
                    Further, it is my opinion that lead from each Defendant’s
                    operations was commingled and therefore indistinguishable from
                    the mixture of lead in the environment.
                    61. Based on the air dispersion/deposition modeling data, it is
                    clearly evident that lead from the operations of each of the
                    Defendants has impacted all of the Plaintiffs’ residence locations.
                    When combined with the contributions from additional activities
                    such as mining; stockpiling, loading, and hauling of ore;
                    distribution of chat for roads, fill and building construction; and
                    surface water runoff, the contribution of lead from the Defendants’
                    operations has had a direct impact on all of the Plaintiffs’ residence
                    locations. If left unabated, it is my opinion that lead from these
                    activities coupled with the emissions from the chat piles and
                    tailings ponds will continue to impact the Plaintiffs and their
                    children.
    (Id. at ¶¶ 58-61). None of the Plaintiffs in this action are mentioned in this affidavit and no air

    dispersion modeling was performed for residences where these four Plaintiffs claim to have

    lived.

             Exhibit 7. Exhibit 7 to Dr. Brown’s report is an expert rebuttal report submitted for Dr.

    Brown in the Asarco LLC bankruptcy. It purports to rebut expert testimony from Asarco’s

    experts Chris Pfahl and David Cabe, who are not experts in this case. None of the Plaintiffs in

    this action are mentioned in this rebuttal report. In addition, the chat piles, chat bases, and

    tailings ponds associated with the historic operations of the alleged predecessors of Blue Tee and

    Gold Fields are not mentioned.




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                                                  Argument

    1.      Legal Standards

            The admissibility of expert testimony is governed by Federal Rule of Evidence 702:

                    If scientific, technical, or other specialized knowledge will assist
                    the trier of fact to understand the evidence or to determine a fact in
                    issue, a witness qualified as an expert by knowledge, skill,
                    experience, training, or education, may testify thereto in the form
                    of an opinion or otherwise, if (1) the testimony is based upon
                    sufficient facts or data, (2) the testimony is the product of reliable
                    principles and methods, and (3) the witness has applied the
                    principles and methods reliably to the facts of the case.
    Rule 702 requires district court judges to act as gatekeepers and to screen expert testimony for

    both reliability and relevance. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The

    objective of the Court’s gatekeeping function is “to make certain that an expert, whether basing

    testimony upon professional studies or personal experience, employs in the courtroom the same

    level of intellectual rigor that characterizes the practice of an expert in the relevant field.”

    Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). The Court should exclude opinions

    that are neither scientifically reliable nor relevant according to the standards for admissibility set

    out in Daubert and Rule 702.

            Under Rule 702’s first prong – reliability – district courts must determine whether the

    expert’s testimony reflects “scientific knowledge,” whether the expert’s findings are “derived by

    the scientific method,” and whether the expert’s work product amounts to “good science.”

    Daubert, 509 U.S. at 590, 593. Testimony based upon “subjective belief,” “unsupported

    speculation,” and untested hypothesis must be excluded. Id. at 590. Novel, untested theories and

    methodologies have no place before the jury. “[T]he courtroom is not the place for scientific

    guesswork, even of the inspired sort. Law lags science; it does not lead it.” Ingram v.




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    Solkatronic Chem., Inc., No. 04-CV-0287-CVE-PJC, 2005 WL 3544244, at *9 (N.D. Okla. Dec.

    28, 2005) (quoting Rosen v. Ciba-Geigy Corp., 78 F.3d 316, 319 (7th Cir.1996)).

            In screening for reliability, the Court is instructed to consider four factors:

                    (1)     Testing – Whether the expert’s theory can be, and has been, tested;

                    (2)     General Acceptance – Whether the theory, technique, or methodology is
                            generally accepted in the relevant scientific community;

                    (3)     Peer Review – Whether the theory or technique has been subjected to peer
                            review and publication; and

                    (4)     Rate of Error – Whether the technique or methodology has an acceptable
                            known or potential rate of error.

    See Daubert, 509 U.S. at 593-94. These four factors are not exhaustive or definitive; the Court

    has “wide discretion both in deciding how to assess an expert’s reliability and in making a

    determination of that reliability.” Bitler v. A.O. Smith Corp., 400 F.3d 1227, 1233 (10th Cir.

    2004). “[T]he Tenth Circuit has emphasized that any analytical gap in an expert’s methodology

    can be a sufficient basis to exclude expert testimony under Daubert.” Holder, 2007 WL 188130,

    at *3 (N.D. Okla. Jan. 22, 2007) (citing Trucks Ins. Exchange v. MagneTek, Inc., 360 F.3d 1206,

    1212-13 (10th Cir. 2004); Goebel v. Denver & Rio Grande Western R.R. Co., 346 F.3d 987, 992

    (10th Cir. 2003)). “If any step renders [an expert’s] opinion unreliable – either in the choice of

    methodology or its application – his opinion is inadmissible.” Alexander v. Smith & Nephew,

    P.L.C., 98 F. Supp. 2d 1310, 1316 (N.D. Okla. 2000) (citing Mitchell v. Gencorp Inc., 165 F.3d

    778, 782 (10th Cir. 1999)). And “nothing in either Daubert or the Federal Rules of Evidence

    requires a district court to admit opinion evidence that is connected to existing data only by the

    ipse dixit of the expert. A court may conclude that there is simply too great an analytical gap

    between the data and the opinion offered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).




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            Under Rule 702’s relevance requirement, the Court must ensure that the proffered expert

    testimony is “relevant to the task at hand,” i.e., that it logically advances a material aspect of the

    proposing party’s case. Daubert, 509 U.S. at 597. This prong, referred to as “fit,” requires the

    Court to “look at the logical relationship between the evidence proffered and the material issue

    that evidence is supposed to support to determine if it advances the purpose of aiding the trier of

    fact.” Bitler, 400 F.3d at 1234. Even if the proffered evidence followed reliable methodologies,

    “it might not have sufficient bearing on the issue at hand to warrant a determination that it has

    relevant ‘fit.’ … [I]t is the trial court’s task to make this fitness determination.” Id.

            As the proponent of expert testimony, Plaintiffs bear the burden of demonstrating the

    admissibility of the proffered evidence. See Daubert, 509 U.S. at 592, n.10; Ingram, 2005 WL

    3544244, at *12; Holder, 2007 WL 188130, at *3.

    2.      Judge Eagan has already held that significant portions of Exhibits 2 and 4 to Dr.
            Brown’s Report are inadmissible.

            In the Palmer personal injury actions, plaintiffs sought to use Dr. Brown’s April 22, 2004

    Cole class certification expert report and his May 27, 2005 Cole class certification affidavit as

    their fate and transport expert reports.4 These two documents are attached to Dr. Brown’s Beets

    report as Exhibits 2 and 4 respectively. After full briefing and a Daubert hearing, Judge Eagan

    determined that many of Dr. Brown’s opinions are inadmissible.5 See Palmer, 2007 WL

    2302584. Specifically, Judge Eagan found as follows:



    4
      The Palmer plaintiffs also sought to use Dr. Brown’s October 28, 2004 Cole rebuttal report
    (Exhibit 3 to his Beets report) and his June 14, 2007 Palmer affidavit (Exhibit 6 to his Beets
    report) to bolster Dr. Brown’s testimony. Judge Eagan held that neither of these documents
    could be used by the Palmer plaintiffs. See Palmer, 2007 WL 2254343.
    5
     For the Court’s convenience, a copy of the Palmer Motion to Exclude Dr. Brown is attached as
    Exhibit C, and Defendants’ arguments therein are incorporated by reference.



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        •   Dr. Brown would not be permitted to testify, based on his “commingling” theory, that
            lead from each chat pile reached each plaintiff’s residence. As noted by Judge Eagan,
            “[t]his type of testimony would require site-specific modeling for chat piles in several
            locations across Ottawa County, Oklahoma, and this type of testimony goes beyond the
            non-excluded modeling upon which Dr. Brown relies.” Id. at *5. The Court concluded
            that: “Plaintiffs have extended the comingling theory to its breaking point and, in this
            instance, Dr. Brown has gone too far. Therefore, he will not be permitted to testify that
            lead from each chat pile reached each plaintiff’s residence.” Id.
        •   Judge Eagan excluded Dr. Brown’s testimony to the extent he relied on the air dispersion
            modeling and emission rate calculation used by David Sullivan in the Holder case. Judge
            Eagan excluded that modeling and calculation as unreliable in Holder, and the Court
            ruled that it “will not allow Dr. Brown to rely on or refer to Sullivan’s modeling as a basis
            for his opinions when he testifies at trial.” Id. at *7.
        •   Judge Eagan found that Dr. Brown was not qualified to testify about ingestion of lead and
            elevation of blood lead levels in the Palmer plaintiffs. “While Dr. Brown can testify how
            lead dust is transported from one place to another, the actual ingestion and elevation of
            blood lead levels is outside his expertise.” Id. at *8. The Court further stated that:
                    Dr. Brown cites IEUBK modeling in an attempt to show that
                    children will actually have elevated blood lead levels. This implies
                    that plaintiffs have actually ingested the lead, and this goes well
                    beyond the scope of his knowledge and expertise as an expert in
                    environmental fate and transport. Dr. Brown can testify about an
                    increased risk of lead exposure for children living in Picher and
                    Cardin, but he will not be permitted to testify that any child has had
                    such exposure or has had an elevated blood lead level. The Court
                    finds that Dr. Brown should be allowed to offer opinion 5 to the
                    extent it is consistent with this Opinion and Order, but opinion 6
                    should be excluded.
            Id. at *9.
        •   Judge Eagan excluded Dr. Brown’s property damage opinions because they were not
            relevant to the issues in the personal injury cases. Id. at *10.
            Although not performing a full Daubert analysis, this Court has also expressed concerns

    about the reliability of the opinions expressed by Dr. Brown. In its Opinion and Order denying

    class certification in the Cole case, the Court observed as follows:

                    Plaintiffs’ description of the Class Area is also troubling. Plaintiffs
                    define the Class Area as “the entire geographic area comprising the
                    towns of Picher and Cardin” and “the Picher-Cardin School
                    District.” To support the geographic designation, plaintiffs present
                    the testimony of their expert, Kirk Brown, that lead from all chat
                    piles could have “at least” some effect on every property in the


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                    proposed Class Area. Dr. Brown opined that if a circle of arbitrary
                    radius were drawn around every historical mine shaft and every
                    existing chat pile in Picher and Cardin, those circles would
                    encompass much of both towns. However, Dr. Brown offered no
                    scientific basis for the size or uniform shape of his circles, did not
                    conduct sampling to verify his theory concerning the extent of
                    contamination within the circles, and did not link the sites relied
                    upon to the actual activities of defendants or the prevailing winds.
                    While a Daubert analysis of expert opinion is not required at the
                    class certification stage, the court should not certify a class on the
                    basis of an expert opinion so flawed that it is inadmissible as a
                    matter of law. The court questions whether Dr. Brown'      s report is
                    based on a reliable foundation.
    Cole v. Asarco Inc., 256 F.R.D. 690, 697, n.3 (N.D. Okla. 2009) (citing In re Visa Check/

    MasterMoney Antitrust Litig., 192 F.R.D. 68, 76-77 (E.D.N.Y. 2000), aff’d 280 F.3d 124 (2d Cir.

    2001); Vickers v. General Motors Corp., 204 F.R.D. 476, 479 (D. Kan. 2001)).

            Plaintiffs in this action are in precisely the position as the plaintiffs in the Palmer cases.

    They are making identical personal injury claims and attempting to use the same testimony from

    Dr. Brown. For the reasons articulated by Judge Eagan in Palmer, the Court should adopt Judge

    Eagan’s rulings and exclude Dr. Brown’s testimony consistent with that prior holding.

    3.      The Court should exclude Dr. Brown’s testimony that tailings from the operations
            of Defendants’ alleged predecessors have become commingled with those of other
            operators.

            In the first opinion to his April 12, 2004 Cole class certification report (Exhibit 2 to his

    Beets report) Dr. Brown opines that lead contamination in the Picher/Cardin area was caused by

    the commingling of mining and milling wastes. (Ex. 2 to Brown Rpt., Ex. A, at 12-13).

    Specifically, Dr. Brown states:

                    It is my opinion to a reasonable degree of scientific certainty that
                    the lead contamination in the communities of Picher and Cardin,
                    Oklahoma is the result of the co-mingling of waste from historical
                    mining and milling operations. Residue sources of waste,
                    including of mine tailings (chat piles), tailings ponds, waste
                    material, and residual resulting from the mining, milling, and


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                    processing of lead ore, were distributed widely as a result of
                    historical operations.

    (Id. at 12). Dr. Brown does not disclose what methodology he used to reach this conclusion.6 In

    the four paragraphs supporting this opinion, he cites to two sources for information about how

    mining and milling were performed: a 1932 publication titled Miami-Picher Zinc-Lead District

    and a 1986 publication titled Stability Problems Associated with Abandoned Underground Mines

    in the Picher Field Northeastern Oklahoma. (Id. at 12-13). In formulating this opinion, he does

    not offer any information about the operations of American Zinc (Blue Tee’s alleged

    predecessor) or Tri-State Zinc (Gold Fields’ alleged predecessor). Nor does he state that waste

    from the operations of American Zinc or Tri-State Zinc was commingled or that commingled

    waste from the operations of American Zinc or Tri-State Zinc caused lead contamination at any

    locations in Picher or Cardin. (See id.).

             The Court should prohibit Dr. Brown from offering any opinions relating to commingled

    waste from the operations of Defendants’ alleged predecessors. All of Dr. Brown’s commingling

    opinions are generic and do not relate to any specific defendant. Because defendant-specific

    opinions have not been disclosed in Dr. Brown’s report, he is therefore precluded from offering

    such testimony under Rule 37(c)(1) (excluding evidence a party failed to provide as required

    under Rule 26(a)).

             Further, given that Dr. Brown has done no analysis of commingling by these specific

    Defendants, his generalized opinion about commingling should also be excluded because it will

    not be helpful to the jury. Presenting this generalized testimony to the jury would serve no

    purpose other than to improperly suggest that commingling of waste by American Zinc and Tri-


    6
        As discussed above, Judge Eagan has already held that Dr. Brown may not use his commingling


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    State Zinc is the cause of lead contamination at Plaintiffs’ former residences in Picher and

    Cardin. Dr. Brown has not offered such an opinion and has done no work which would allow

    him to offer that specific opinion. Therefore, Dr. Brown’s generalized commingling opinion

    should be excluded and Dr. Brown should not be permitted to state or imply that lead

    contamination in the Picher/Cardin area has been caused by the commingling of waste by

    American Zinc or Tri-State Zinc.

    4.      The Court should exclude Dr. Brown’s opinions set out in Exhibit 3 because the
            modeling he used is unreliable and because his opinions are not helpful to the jury.

            Judge Eagan did not perform a Daubert analysis of Dr. Brown’s Cole class certification

    rebuttal report (Exhibit 3 to the Beets report) because she found that it was not properly disclosed

    in the Palmer case and that Dr. Brown was therefore prohibited from offering any testimony

    disclosed in the rebuttal report. See Palmer, 2007 WL 2254343, at *5-6. This report was

    intended to rebut certain class certification expert opinions offered by three of Defendants’

    experts in the Cole case – Dr. Peter Drivas, Dr. Gale Hoffnagle, and Dr. Rosalind Schoof. Two

    of these experts – Drs. Hoffnagle and Schoof – are not designated as experts by Blue Tee or Gold

    Fields, so any rebuttal of their opinions for the Cole case is irrelevant and not helpful to the jury.

    Although Dr. Drivas has been designated as an expert in this case, he has prepared a case-specific

    expert report here and is not relying on his Cole class certification expert report. Dr. Brown’s

    attempted rebuttal of a report that is not at issue in this case is irrelevant and will not be helpful

    to the jury.

            In addition, Dr. Brown’s opinions about air dispersion modeling should also be excluded

    because they depend on the air dispersion modeling and emission rate calculation which were



    theory to testify that lead from each chat pile reached each property in Picher and Cardin.



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    previously found to be unreliable by Judge Eagan. In section 3.2.3 of his Cole rebuttal report,

    Dr. Brown performs air dispersion modeling of a hypothetical 10 m x 10 m chat pile. He then

    attempts to extrapolate his modeling results to a hypothetical 250 m x 250 m hypothetical chat

    pile to show that dust from chat piles can travel up to 400 meters via wind dispersion. (See Ex. 3

    to Brown Rpt., Ex. A, at 11-12). In performing this air dispersion modeling,7 Dr. Brown

    employed the same emission rate used by David Sullivan in prior Tar Creek personal injury

    litigation. According to Dr. Brown: “The model domain was simplified to a 10 by 10 meter

    source area with a lead emission rate of 1.51x10-7 g/m2/year (the same emission rate Dr. [sic]

    Sullivan and Dr. Shields used, for comparison).” (Id. at 11).

            Judge Eagan has already found that the air dispersion modeling and emission rate

    calculated by David Sullivan are unreliable. Holder, 2007 WL 188130, at *1-4 (N.D. Okla. Jan.

    22, 2007). She has also found that Dr. Brown should not be permitted to testify about or rely on

    Mr. Sullivan’s air dispersion modeling or the emission rate he inaccurately calculated. See

    Palmer, 2007 WL 2302584, at *7. Dr. Brown’s use of Mr. Sullivan’s unreliable emission rate in

    his own air dispersion modeling renders his modeling unreliable, and any testimony about or

    based on this air dispersion modeling should be excluded.

            Finally, Dr. Brown’s opinions about the ingestion of dust by children should be excluded

    because, as Judge Eagan has already found, such testimony goes beyond his area of expertise.

    Dr. Brown offers such opinions in two places. First, in section 3.2.5 of his Cole rebuttal report,

    Dr. Brown states as follows:

                   Elevated lead levels coupled with the hand-to-mouth behavior puts
                   these children at even greater risk for high blood lead levels. The

    7
     Dr. Brown did not perform the air dispersion modeling himself. He relied on an assistant to
    perform the modeling. (2004 Brown Dep., Ex. B, at 335:22-25).



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                    Baseline Human Health Risk Assessment determined that, on
                    average, 82% of the total lead uptake in children was from
                    ingestion of soil and dust (B&R, 1997; USEPA, 1996; E&E,
                    1996). Since children six years old and under routinely put things
                    in their mouths, this pathway is the prevalent mode of exposure.
                    Children six years old and under are also known to be greatly
                    affected by lead uptake as a result of ingestion (ATSDR, 1992).
    (Ex. 3 to Brown Rpt., Ex. A, at 16). He makes a similar statement in section 3.6, titled

    “Ingestion of Dust.” (Id. at 20-21).

            As Judge Eagan determined in Palmer, issues relating to the actual ingestion of lead by

    children goes beyond Dr. Brown’s expertise: “While Dr. Brown can testify how lead dust is

    transported from one place to another, the actual ingestion and elevation of blood lead levels is

    outside of his expertise.” Palmer, 2007 WL 2302584, at *8. Dr. Brown’s testimony, as

    disclosed in sections 3.2.5 and 3.6 of his Cole rebuttal report, is exactly the sort of testimony that

    Judge Eagan deemed inadmissible in Palmer. Likewise, the Court here should exclude his

    testimony relating to ingestion of lead and elevated blood lead levels in children because such

    issues fall outside his expertise.

    5.       The Court should exclude Dr. Brown’s opinions set out in Exhibit 6 because his air
            dispersion modeling is unreliable, his analysis is not based on sufficient data and
            facts, and it is not helpful to the jury.

            Judge Eagan did not perform a Daubert analysis of Dr. Brown’s Exhibit 6 report from the

    Palmer case because she determined that it was not properly disclosed by plaintiffs and did not

    constitute proper supplementation of Dr. Brown’s earlier opinions. See Palmer, 2007 WL

    2254343, at *5-6. In this report, Dr. Brown, for the only time in any of his multiple reports and

    affidavits relating to the Tar Creek site, attempts to link defendants’ operations to lead at certain

    residence locations. However, Dr. Brown’s analysis and conclusions should be excluded for

    several reasons. First, the air dispersion modeling on which he relies in unreliable because he




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    used a hypothetical “arbitrary” emission rate 100 times higher than that found to be unreliable by

    Judge Eagan and because he used an outdated model. Second, his modeling does not relate to

    any Plaintiffs in this litigation, and is therefore irrelevant and will not be helpful to the jury. And

    third, the defendant-specific operations information he uses is not based on sufficient data or

    facts to act as a stand-alone opinion.

        A. Dr. Brown’s air dispersion modeling is unreliable.

            In an attempt to connect Defendants to the residences of the Palmer plaintiffs, Dr. Brown

    arranged to have air dispersion modeling performed on 99 tailings accumulations in the

    Picher/Cardin area.8 (Ex. 6 to Brown Rpt., Ex. A, at ¶¶ 44-57). The following addresses were

    used as receptor locations, each of which was connected to one of the Palmer plaintiffs:

                   405 S. Francis
                   112 S. Ella
                   613 S. Francis
                   403 S. Connell
                   453 S. Connell
                   214 E. 9th Street
    (Id. at ¶¶ 52-57). The ISCST3 model was used because, according to Dr. Brown, it “is the model

    recommended by USEPA for air dispersion/deposition modeling.” (Id. at ¶¶ 44). For the

    emission rate, “a unitary emission rate of 1 x 10-5 g/sec/m2 was used for all emission sources.”

    (Id. at ¶¶ 48). Dr. Brown did not attempt to use the modeling to quantify the amount of lead at

    each Palmer plaintiffs’ residence from each source. Instead, he used the modeling to attempt to

    determine the relative contribution of each defendant, regardless of the actual amount of lead.

    (2011 Brown Dep. Ex. D, at 20:14-21:5; 23:13-24:20). As Dr. Brown has testified:


    8
     Dr. Brown did not perform the modeling himself. Instead, he relied on his boss, Zi Zong
    Wong, to run the air model. (2011 Brown Dep., Ex. D, at 31:12-20; 6:15-18).



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                   Q. So that nothing in Exhibit 6 is intended even to express an
                   opinion about how much lead got from a particular defendant'       s
                   location to a particular plaintiff'
                                                     s residence, in effect, correct?
                   A. That’s correct.
                   Q. Similarly nothing in Exhibit 6 is intended to reflect the actual
                   mass contribution of lead from any defendant’s location to lead in
                   the ambient air anywhere in Picher; isn’t that correct?
                   A. That’s correct, not numerically just relatively.
    (Id. at 20:21-21:5). In other words, Dr. Brown’s opinions relate only to the relative percentage of

    an unknown quantity of lead that he believes (but has not modeled or calculated) may have been

    transported by air from chat piles to the Palmer plaintiffs’ residences.9

            Two specific issues render the Palmer air dispersion modeling exercise unreliable. First,

    Dr. Brown utilized an arbitrary emission rate that does not represent the actual emissions from

    the modeled chat piles.

                   Q. Is it your understanding that that unit emission rate that’s used
                   from each of the piles does not necessarily represent the actual
                   emissions that would have taken place from those piles during the
                   time that you were modeling?
                   A. That’s correct.
                   Q. Where did that unit emission rate come from?
                   A. It’s -- essentially we put in one; but to scale it so that we would
                   have numbers that are reasonable, we put in 1 times 10 minus 5.
                   Q. So, that’s an arbitrary emission rate that was not calculated in
                   any manner using any equation or formula or source or anything,
                   correct?
                   A. That’s correct.
                   Q. Just something you made up?
                   A. It was arbitrary. It was designated as that.

    9
      Because of the nature of air dispersion modeling, all receptors, no matter how distant from a
    source, will always show a positive, non-zero emission impact from the source. (Id. at 129:17-
    130:3). By way of example, a receptor in Houston, Texas will show positive, non-zero impacts
    from sources in Picher, Oklahoma and relative contributions could be calculated, even though the
    quantity could not be detected by monitoring equipment. (Id.).



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    (Id. at 27:8-23). This arbitrary emission rate – 1 x 10-5 g/sec/m2 – is approximately 100 times

    higher than the emission rate calculated by David Sullivan in the Holder case (1.28 x 10-7

    g/m2/sec). Holder, 2007 WL 188130, at *1. As Dr. Brown acknowledged;

                    Q. It is true, is it not, that that unit emission rate is much higher
                    than any actual emission rate that any researcher has ever attributed
                    to any source in Picher/Cardin?
                    A. Yes. And it’s approximately a hundred times higher.
    (2011 Brown Dep., Ex. D, at 33:18-23). Judge Eagan determined that Mr. Sullivan’s emission

    factor was unreliable because his erroneous calculation resulted in an emission rate that was

    inflated by a factor of 100.10 Id. at *1-4. Given Judge Eagan’s ruling in Palmer that Dr. Brown

    would not be allowed to rely on Mr. Sullivan’s unreliably calculated emission rate, he should not

    be allowed to substitute an admittedly arbitrary emission rate that does not reflect actual

    emissions and is 100 times higher than Mr. Sullivan’s unreliable emission rate. This

    fundamental flaw in the Palmer modeling renders all the modeling results (upon which his

    Exhibit 6 opinions are based) inadmissible.

             Further, Dr. Brown’s modeling does not support the ultimate conclusion he draws from it.

    Dr. Brown offers the following opinion in paragraph 60 of his Palmer affidavit: “As shown by

    the air dispersion/deposition modeling, it is my opinion that lead from the operations of each of

    the Defendants was transported to and deposited at each of the [Palmer] Plaintiffs’ residence

    locations.” This opinion does not flow from the modeling described in the affidavit. Dr. Brown

    testified that he used an arbitrary emission rate that does not represent actual emissions from the

    chat piles. (2011 Brown Dep., Ex. D, at 27:8-23). The modeling was intended to demonstrate

    relative contributions, but does not model any actual impacts on the Palmer plaintiffs’ properties.



    10
         Given the compounding overstatements of Sullivan (100x) and Brown (100x), Dr. Brown’s


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    (Id. at 22:14-18; 20:21-21:5; 23:13-24:16). Yet Dr. Brown infers from the arbitrary emissions

    and the relative, non-quantitative modeling results that there has been an actual impact at each

    Palmer residence modeled. If Dr. Brown wished to reach this conclusion, he could have

    modeled actual emissions and deposition. He did not. The arbitrary emissions he modeled

    simply do not permit him to infer actual impacts, and lacking a reliable connection between the

    modeling and the conclusion, his opinion is no more than ipse dixit.

            The Palmer modeling is also unreliable because it was based on an obsolete and outdated

    computer model. Although Dr. Brown asserted when he signed his affidavit in 2007 that the

    model he used (the ISCST3 model) is “recommended by USEPA for air dispersion/deposition

    modeling,” he was wrong. The ISCST3 model became obsolete in November 2005, when it was

    replaced by EPA with the AERMOD model. (See Expert Report of Peter J. Drivas, Ph.D., Ex. E,

    at 77-78). At his deposition, Dr. Brown acknowledged that EPA was transitioning to AERMOD,

    but was unsure whether the switch occurred before or after he signed his Palmer affidavit. (2011

    Brown Dep., Ex. D, at 110:14-111:6). Given that Dr. Brown used an obsolete air model, his

    modeling results are unreliable and should be excluded.

        B. Dr. Brown’s modeling is irrelevant and not helpful to the jury.

            Even if it were reliable (which it is not), Dr. Brown’s air dispersion modeling should be

    excluded because it is irrelevant and is not helpful to the jury. As noted above, this work (which

    was done in connection with the Palmer case) models relative impacts at six specific residential

    addresses associated with the Palmer plaintiffs. However, none of the Plaintiffs in this case ever

    lived at any of these residential addresses. (See Melissa Beets’ Resp. to Blue Tee Corp’s 1st Set

    of Interrogs., Ex. F, at 3 (Answer to Interrogatory No. 1); Plaintiff Brandon Dry’s Obj. and Resp.


    emission rate is at least 10,000 times too high.


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    to Blue Tee Corp’s 1st Set of Interrogs., Ex. G, at 3 (Answer to Interrogatory No. 1); Teresa

    Palmer’s 1st Am. Resp. to Blue Tee Corp’s 1st Set of Interrogs., Ex. H, at 3 (Answer to

    Interrogatory No. 1); John Kloer’s Resp. to Blue Tee Corp’s 1st Set of Interrogs., Ex. I, at 3

    (Answer to Interrogatory No. 1)). In fact, one of the Plaintiffs in this case, JPAK, lived in

    Quapaw, Oklahoma (several miles away from any of the Palmer plaintiff residences in Picher).

    (See John Kloer’s Resp. to Blue Tee Corp’s 1st Set of Interrogs., Ex. I, at 3 (Answer to

    Interrogatory No. 1)). The relative impacts at six addresses where none of the Beets Plaintiffs

    claims exposure are not relevant to any issue in this case and would serve only to mislead and

    confuse the jury. Dr. Brown could have performed air dispersion modeling to determine impacts

    at these four Plaintiffs’ residences, but he did not. The irrelevant modeling results for the six

    Palmer plaintiffs will not be helpful to the jury and should therefore be excluded.

        C. Dr. Brown’s statements about the historic operations of Defendants’ alleged
           predecessors are not based on sufficient facts.

            Finally, even if the modeling results are excluded, Plaintiffs may attempt to have Dr.

    Brown testify about the historic mining and milling operations of American Zinc and Tri-State

    Zinc, as set forth in paragraphs 13-35 of his Palmer affidavit. However, Dr. Brown is not

    qualified to offer stand-alone opinions on these Defendants’ operational histories and the

    statements in these paragraphs are not based on sufficient facts or data. Dr. Brown is not a

    historian and there are no historians on his staff. (2011 Brown Dep., Ex. D, at 114:20-115:3).

    The historical operations paragraphs were prepared by people on Dr. Brown’s staff. Dr. Brown

    himself reviewed “a few of them” after they were prepared by his staff, though he does not recall

    which ones. (Id. at 112:13-113:4). The statements are all based on documents provided to Dr.

    Brown by counsel; his staff did no independent research on these topics. (Id. at 114:8-19).




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            Although the descriptions of operations contained in paragraphs 13-35 may be sufficient

    for the purposes for which they were used by Dr. Brown (i.e. determining who to assign various

    chat piles to for the modeling exercise), they are not sufficient to stand as a separate opinion.

    Nothing in Dr. Brown’s training as a soil scientist or environmental fate and transport expert

    qualifies him to examine the historical record and reach conclusions regarding historical events.

    He has not performed any methodology used by historians to determine historical facts from the

    historical record. Instead, he has simply reviewed and reported on several documents provided to

    him by counsel (most of which are secondary sources11) without any independent investigation.

    If Plaintiffs seek to introduce expert historical evidence of the operations of American Zinc and

    Tri-State Zinc, they should have retained a qualified expert historian to develop such opinions

    using an appropriate historical research methodology. They have not done so, and their soil

    scientist, Dr. Brown, should not be permitted to offer expert opinions on the limited historical

    record he was provided by counsel.12

            The Court should exclude all of Dr. Brown’s testimony based on his Palmer affidavit.

    The air dispersion modeling is unreliable because it used both an obsolete model and an

    unreliable “arbitrary” emission factor. The model results will not be helpful to the jury because

    they describe impacts on properties that are not at issue in this litigation. And the historical




    11
      For example, Dr. Brown relies extensively on the expert reports of Lee Levinson (a plaintiff
    expert in Herd and Holder) and Richard Bullock (a defense expert in Palmer, Holder, and this
    case) rather than looking at the original lease and other operational documents. (See Ex. 6 to
    Brown Rpt., Ex. A, at ¶¶ 14-23, 26-28, 30-34).
    12
      In addition to paragraphs 13-35 describing the operations of the alleged predecessors of Blue
    Tee and Gold Fields, the Court should also exclude the maps comprising Attachments 4-7, which
    are based on these descriptions.



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    operational information used by Dr. Brown for his modeling would not be appropriately admitted

    as stand-alone opinions by a soil scientist such as Dr. Brown.

                                               Conclusion

            For the reasons set forth herein, Dr. Brown’s proposed testimony should be excluded

    under Rule 702 and Daubert.


                                                 Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

           I do hereby certify that on the 31st day of October 2011, I electronically transmitted the
    foregoing documents to the Clerk of the Court using the ECF System for filing and transmittal of
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